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                          UNITED STATES DISTRICT COURT

                        NORTHERN DISTRICT OF CALIFORNIA

                CIVIL SETTLEMENT CONFERENCE MINUTE ORDER

 Date: November 1, 2021                  Time: 25 minutes        Judge: DONNA M. RYU
 Case No.: 20-cv-08258-MMC (DMR)         Case Name: Fretwell v. Board of Trustees of the
                                         California State University

For Plaintiff: Alan Reinach

For Defendant: Cathy Arias

Deputy Clerk: Nikki D. Riley                        Not Reported


             PROCEEDINGS: Telephonic Pre-settlement Conference-HELD

RESULTS: Settlement planning call held in advance of 1/24/22 Zoom settlement
conference. The start time is now changed from 10:00 to 1:00 p.m. Plaintiff shall provide a
written demand by 1/10/22, with a copy to Judge Ryu at DMRsettlement@cand.uscourts.gov.

cc:    Chambers
